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 1                                                                The Honorable Marsha J. Pechman
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                                 Plaintiff,           NO. CR09-0159MJP
11          v.
                                                        ORDER GRANTING JOINT MOTION TO
12   GALINA KRAVCHENKO,                                 CONTINUE TRIAL AND PRETRIAL
                                                        MOTIONS DEADLINE
13                                 Defendant.
14
            THIS MATTER is before the Court upon the Joint Motion to Continue Trial and
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     Pretrial Motions Deadline. Having considered all the files and records herein, the Court finds:
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            (1) that taking into account the exercise of due diligence, the failure to grant a
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     continuance in this case would deny counsel for the defendant the reasonable time necessary
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     for effective preparation, due to counsel’s need for more time to review the evidence, consider
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     possible defenses, and gather evidence materials to the defense, as set forth in 18 U.S.C.
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     § 3161(h)(7)(B)(iv); and
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            (2) that a failure to grant such a continuance in this proceeding would likely result in a
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     miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and
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            (3) that the additional time requested is a reasonable period of delay, as the defendant
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     has requested more time to prepare for trial, to investigate the matter, to gather evidence
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     material to the defense, and to consider possible defenses; and
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     [PROPOSED] ORDER GRANTING JOINT MOTION TO
     CONTINUE TRIAL AND PRETRIAL MOTIONS DEADLINE
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                                                                                      (206) 623-6501
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 1          (4) that the case is sufficiently complex that it is unreasonable to expect adequate
 2   preparation for pretrial proceedings or the trial itself within the current trial schedule, as set
 3   forth in 18 U.S.C. § 3161(h)(7)(B)(ii); and
 4          (5) that the ends of justice will best be served by a continuance, and that the ends of
 5   justice outweigh the best interests of the public and the defendant in any speedier trial, as set
 6   forth in 18 U.S.C. § 3161(h)(7)(A); and
 7          (6) that the additional time requested between the original trial date of February 17,
 8   2015, and the new trial date is necessary to provide counsel for the defendant the reasonable
 9   time necessary to prepare for trial, considering all of the facts set forth above.
10          IT IS THEREFORE ORDERED that the trial is continued to March 16, 2015, and that
11   the pretrial motions deadline is set for February 26, 2015. The period of time from February
12   17, 2015, and the new trial date is excludable time pursuant to the authorities set forth above.
13          DATED this 10th day of February, 2015.
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                                                            A
                                                            Marsha J. Pechman
                                                            United States District Judge
18   Presented by:
      SKELLENGER BENDER, P.S.
19

20    s/ Peter Offenbecher
      Peter Offenbecher, WSBA No. 11920
21    poffenbecher@skellengerbender.com
      Attorneys for Galina Kravchenko
22
     ANNETTE L. HAYES
23
     Acting United States Attorney
24
     Tessa Gorman, WSBA No. 35908
25   Thomas Woods
     Assistant United States Attorneys
26

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     [PROPOSED] ORDER GRANTING JOINT MOTION TO
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